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                                                                                      FILED
                                                                          United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                             Tenth Circuit

                              FOR THE TENTH CIRCUIT                            October 10, 2018
                          _________________________________
                                                                              Elisabeth A. Shumaker
                                                                                  Clerk of Court
 RUSSELL G. GREER,

        Plaintiff - Appellant,

 v.                                                            No. 18-4075
                                                      (D.C. No. 2:16-CV-01067-DBP)
 GARY R. HERBERT, in his official                                (D. Utah)
 capacity as Governor of the State of Utah,
 et al.,

        Defendants - Appellees,

 and

 JAMES ALLRED, in his official capacity
 as Business Licensing Manager for the City
 of Salt Lake, et al.,

        Defendants.
                          _________________________________

                                       ORDER
                          _________________________________

        This matter comes on for consideration of the submission of a supplemental

appendix by Appellee Gill. Upon consideration thereof, the appendix will be filed as an

attachment to Appellee Gill’s brief. The appeal is proceeding on the district court record

as the appellant is pro se, see 10th Cir. 10.2(C), and thus an appendix is not required.

However, because the appellant did not attach the order and the judgment to the opening
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brief, see 10th Cir. R. 28.2(A), the supplemental appendix will be filed as an attachment

to Appellee Gill’s brief., see 10th Cir. 28.2(B).


                                               Entered for the Court
                                               ELISABETH A. SHUMAKER, Clerk


                                               by: Ellen Rich Reiter
                                                   Jurisdictional Attorney




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